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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION


EUGENIA II INVESTMENT
HOLDINGS LIMITED (BVI),

            Plaintiff,

v.                                               Case No. 2:20-cv-843-JLB-NPM

ANTHONY BELISLE,

             Defendant.


                                    ORDER

      Before the Court are the Unopposed Motion to Permit Special/Pro Hac Vice

Admission of Attorney Joan A. Lukey (Doc. 20) and Unopposed Motion to Permit

Special/Pro Hac Vice Admission of Attorney Justin J. Wolosz (Doc. 21). Upon

review of the motions, the Court finds attorneys Joan A. Lukey and Justin J. Wolosz

of Choate, Hall & Stewart LLP meet the requirements of Middle District of Florida

Local Rule 2.02(a) and may appear specially on behalf of Defendant Anthony

Belisle.

      Accordingly, it is hereby ORDERED:

      1.    The Unopposed Motions to Permit Special/Pro Hac Vice Admission

(Docs. 20, 21) are GRANTED.
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      2.     If non-resident attorneys Joan A. Lukey and Justin J. Wolosz have not

already done so, counsel shall file an E-Filer Registration Form and pay the special

admission fee within fourteen days of the date of this Order. Failure to complete

these steps may cause the Court to revoke its permission to appear specially without

further notice.

      3.     Counsel is reminded that any attorney appearing in this Court pursuant

to Local Rule 2.02(a) “shall be deemed to be familiar with, and shall be governed

by, these [local] rules in general, including Rule 2.04 hereof in particular; and shall

also be deemed to be familiar with and governed by the Code of Professional

Responsibility and other ethical limitations or requirements then governing the

professional behavior of members of The Florida Bar.” M.D. Fla. R. 2.02(c).

      4.     Pursuant to In re: Possession and Use of Personal Electronic Devices

in Federal Courthouses in the Middle District of Florida, No. 6:13-mc-94-Orl-22,

an attorney permitted to appear specially by this Order may—subject to inspection

by Court Security Officers—bring personal electronic devices beyond the

courthouse security checkpoint by presenting this Order.

      DONE and ORDERED in Fort Myers, Florida on January 21, 2021.




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